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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF MINNESOTA


Jasser Zaabri
                                                                    CASE NO.______________
                Plaintiff(s),


v.                                                                  VERIFIED COMPLAINT

Magis, LLC, Magis Construction, LLC,
Double G Construction Corporation,
Elysian Construction, LLC, Christopher Abdul-Haqq,
Michael Antonello, Gabriel Grosso, Robert Palmiere,
Salvatore Mule, Nate Moen, and Steve Haqq.

                Defendants.



       Plaintiff Jasser Zaabri (“Zaabri”) brings this Complaint against Defendants Magis, LLC

(“Magis”), Magis Construction, LLC “(MagisLLC”), Double G Construction Corporation

(“Double G”), Elysian Construction, LLC (“Elysian”), Christopher Abdul-Haqq (“Haqq”),

Michael Antonello (“Antonello”), Gabriel Grosso (“Grosso”), Robert Palmiere (“Palmiere”),

Salvatore Mule (“Mule”), Nate Moen (“Moen”), and Steve Haqq (“Haqq”) (collectively,

“Defendants”), and states and alleges the following facts in his verified complaint.

       This action arises from Defendants’ collective and illegal actions using their corporation

to engage in illegal acts including: Civil RICO in violation of 18 U.S.C. Section 1964; Breach of

Contract, Fraud, Negligent Misrepresentation, Fraudulent Nondisclosure, Unjust Enrichment,

and Violation of Minnesota Employment Laws, and Declaratory Judgement.

                                       INTRODUCTION




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       1.       The employment relationship between Zaabri and the Defendants began in August

2019 when Zaabri was introduced to Haqq and Antonello who owned the companies1: Magis,

Double G, and Elysian Construction. In particular, Haqq wanted to lure Zaabri into these

companies to work as a salesperson and manager after discovering Zaabri’s ability to sign clients

and make substantial profits for his companies. At this initial meeting, Zaabri discussed his work

at a former construction company and his ability to create a powerful sales force teams for the

Defendants. Unfortunately, and unknown to Zaabri, the Defendants were not running a

legitimate and honest business and eventually refused to pay Zaabri and others for their work.

The Defendants also never disclosed to Zaabri that they intended to place false charges upon his

wages and earnings that violate Minnesota Employment laws including but not limited to

financial penalties for not attending mandatory meetings, refusing to take drug tests, not

traveling to certain markets within the United States of America, for not working on weekends,

deducting paychecks amounts for customer damage or complaints, fining Zaabri $100, $400,

$800.00 for company fines and penalties and deduction in commissions if customer’s are not

signing a contract with the company within 24 hours, and taking half of the commissions from

sales if a customer does not sign with a particular law firm, or go to an adjuster’s meeting, or

entice the customer to sue the insurance company for payment of jobs.

       2.       Before meeting the Defendants, Zaabri was an experienced salesperson for

several construction companies in Minnesota. However, Defendants were experienced litigants

with prior allegations of failing to pay employees for their work, taking aggressive positions



1
 Upon information and belief, the various Defendant companies share employees, business
staffing, and resources and conduct business in Minnesota, North Carolina, Texas, Iowa and
Florida. In fact, Magis through their owner Christopher Haqq has stated before a Minnesota
administrative board facts connecting Double G Construction to the interworking relationship of
Magis.
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against their employees if they refused to work 7 days a week, pay their “draws” to the company,

and created a scheme to cheat hard-working individuals with excessive fines, false

reimbursements for housing and other undocumented expenses, and then suing employees for

not paying the company. Many times, employees were left working many hours only to learn

that they are thousands of dollars in debt with the Defendants.

       3.       More troubling is Defendants’ history. For instance, Defendant Antonello was

charged with forgery and fraud. The Minnesota Department of Commerce summarily suspended

the resident insurance producer license of Antonello of New Brighton and charged him with

insurance fraud and forgery. The department also summarily suspended the agency insurance

license of Wealth Management Advisors of Minneapolis, of which Antonello is chairman.

       4.       In a 39-page order for summary suspension, Department of Commerce

investigators allege that Antonello secured 44 life insurance policies from October of 1999 to

December of 2004 on the life of John Paulson totaling $127.75 million. To secure that much

insurance for one man, Antonello allegedly misrepresented to the insurance companies the total

amount of coverage already in force for Mr. Paulson. He also incorrectly indicated on several

applications that policies already in force for Mr. Paulson would be replaced by newer policies.

       5.       Antonello received large commissions from the sale of these policies and profited

from selling each of the policies to investors in the Stranger Originated Life Insurance (STOLI)

marketplace after the two-year incontestability period. STOLI policies are purchased by

investors who take over the premium payments until the insured dies, at which time the investor

receives the death benefit. Several insurance companies have sued to rescind the policies and

recover commissions Antonello has received.




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       6.        Commerce investigators also outlined three other cases involving multiple life

insurance policies and allegations of fraud:

             •   In a six-month period from February to August of 2003, Antonello allegedly
                 secured more than $38 million in life insurance for Irving Margolis. Antonello
                 was paid significant commissions on these policies even though a substantial
                 number of the applications contained material misrepresentations. After the two-
                 year incontestability period, the policies were sold to life settlement companies,
                 allowing Antonello to profit from additional commissions on those sales.
                 Antonello was also part owner of the limited liability companies that were
                 beneficiaries on the policies.

             •   Between October 1995 and June 2003 Antonello allegedly secured more than $19
                 million in life insurance for Marjorie E. Ashbach. Antonello was paid significant
                 commissions on these policies even though a substantial number of the
                 applications contained material misrepresentations. The Ashbach policies were
                 also sold on the STOLI market after the two-year incontestability period. On
                 August 28, 2000, Antonello even sent Ashbach a letter that stated, in part: “As
                 you may recall, two years ago we were able to sell the old policy to another
                 insurance company for a profit. This can be done every two years as long as we
                 can get you insured at low rates…”

             •   In 2005, Antonello secured at least five different life insurance policies totaling
                 $14 million for Marietta Campbell by directing her to sign the applications and
                 return them to him blank. Antonello allegedly set up limited liability corporations
                 to pay the premiums on these policies and then caused Campbell’s signature to be
                 forged on change of beneficiary forms after she unexpectedly died in 2006. This
                 case also resulted in litigation between the insurance companies involved and
                 Antonello.

       7.        Now, Antonello teams up with Haqq, Gross, Palmiere, Mule, Moen and S.Haqq

for a different calculated scheme through construction contracts and cheating their employees.

       8.        Defendants Haqq and Antonello eventually with the acceptance and approval of

other owners agreed to hire Zaabri as an “independent contractor” and presented Zaabri an

agreement for Zaabri to execute. At a recent employment hearing before the Minnesota

Unemployment Insurance Office, Haqq testified that Zaabri was an “independent contractor”.

However, Zaabri requested that Minnesota determine that he was a bonafide employee for the




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Defendants. The State agreed that Zaabri was an employee for the Defendants and not an

“independent contractor”.

       8.       Regardless, Defendants have failed to pay agreed upon commissions and comply

with Minnesota employment statutes since 2019.

       9.       In particular, Defendants failed to pay Zaabri timely or at all and have significant

debts and past wages outstanding to Zaabri in significant back wages, penalties, and other

obligations.

       10.      In total, the Defendants owe Zaabri an amount of $4,528,683.06 that is accruing

daily penalties and interest. Zaabri was not the only victim of Defendants scheme and as

“employees” plan to file lawsuit alleging similar allegations. As such, numerous employees were

suckered by the Defendants and have brought or will be bringing their individual lawsuits in

Minnesota Federal District Courts.

       11.      Defendants’ pattern of fraud, failure to pay, hidden accounts, and other

malfeasance is predicated on multiple civil and criminal violations of federal and state law,

constitutes a pattern of racketeering activity with the threat of future repetition by Defendants

warranting judicial relief.


       12.      Zaabri recognizes that even if faced with a civil judgment, the Defendants will

attempt to avoid collection of the amounts that they owe Zaabri, as the Defendants have other

civil and administrative matters that are ongoing. Zaabri brings this action not only to seek

financial recovery but also to protect the public from the Defendant’s unlawful conduct.


                                          THE PARTIES

       13.      Jasser Zaabri, 10000 Liatris Lane, Eden Prairie, Minnesota 55347.


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        14.     Magis, LLC, 301 Thomas Ave N, Minneapolis, Mn 55405.

        15.     Double G Corporation, 925 S Congress Ave, Delray Beach, FL 33445 and has

bank account in Minnesota through its operation with Magis, LLC.

        16.     Elysian Construction, LLC, 301 Thomas Ave N, Minneapolis, Mn 55405.

        17.     Christopher Haqq, 5312 Schaefer Rd, Edina, MN 55436.

        18.     Michael Antonello, 3013 13th Terrace, New Brighton, MN 55112.

        19.     Gabriel Grosso, 925 S Congress Ave, Delray Beach, FL 33445.

        20.     Robert Palmiere, 925 S Congress Ave, Delray Beach, FL 33445.

        21.     Salvatore Mule, 925 S Congress Ave, Delray Beach, FL 33445.

        22.     Nate Moen, 301 Thomas Ave N, Minneapolis, MN 55405.

        23.     Steve Haqq, 301 Thomas Ave N, Minneapolis, MN 55405.

                                  JURISDICTION AND VENUE

        24.     This Court has jurisdiction over Count I and the Defendants pursuant to 28 U.S.C.

Section 1331, because the claims arise under federal law.

        25.     This Court has jurisdiction over Counts II through XII the Defendants pursuant to

28 U.S.C. Section 1367, because joinder is required, and the counts are so related to Count I that

they form the same case or controversy.

        26.     Venue is proper in this Court pursuant to 28 U.S.C. Section 1390(b) because the

defendants reside in this judicial district and/or a substantial part of the events or omissions

giving rise to this lawsuit occurred in this judicial district.

                                    FACTUAL ALLEGATIONS

                                       History of Jasser Zaabri




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       27.     Zaabri has been working as a sales manager since 2016 for construction

companies.

       28.     He is a well-known sales genius that has remarkably increased revenue for

companies that he worked.

       29.     Zaabri has history in created sales teams with a proven method for success

creating incentive driven opportunities for various level sales individuals and instituted that

program into Defendant companies.

       30.     Zaabri oversaw the sales teams ensuring that they were successful.

       31.     Zaabri was highly regarded by all sales teams at Defendant companies.

                                   Zaabri meets the Defendants

       32.     In August 2019, Zaabri was introduced to Haqq and Antonello who owned the

companies2 Magis, Double G, and Elysian Construction by current employee Timothy Smolik.

       33.     Smolik heard that Zaabri would be leaving his current company and was looking

for another opportunity to grow.

       34.     As such, Smolik scheduled a meeting with the owners of Defendant companies.

       35.     After hearing of Zaabri’s success, Haqq, in particular, wanted to lure Zaabri into

Defendant companies to work as a salesperson after discovering Zaabri’s ability to sign clients

and make substantial profits for his companies.

       36.     At this initial meeting, Zaabri discussed his work at a former construction

company and his ability to create a powerful sales force teams for the Defendants.



2
 Upon information and belief, the various Defendant companies share employees, business
staffing, and resources and conduct business in Minnesota, North Carolina, Texas, Iowa and
Florida. In fact, Magis through their owner Christopher Haqq has stated before a Minnesota
administrative board facts connecting Double G Construction to the interworking relationship of
Magis.
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       37.     At a second meeting, Haqq and Antenello made Zaabri an offer and executed an

agreement before the Human Resources Director.

                           Zaabri Enters Agreement with Defendants

       38.     Zaabri executed an agreement that contained terms that he would sale Defendants

companies to customers seeking construction services related to storm repair.

       39.     The contract specifically stated that Zaabri would receive 10 percent of revenue

from every job turned into the company and 5 percent of revenue for every job turned into the

company by Jay Zaabri’s team members Khalil Zaabri.

       40.     In addition, Zaabri would make 60 percent of profit from jobs that Zaabri or his

team would obtain.

       41.     Defendants would provide corporate housing and a corporate vehicle for

employment.

       42.     Overtime, the Defendants changed the terms of the agreement to include that

Zaabri would be paid a percentage of his anticipated revenue and his teams revenue generation

from the company.

       43.     The contract terms contained a non-compete clause that was extremely restrictive.

                              Defendants Employed Unjust Tactics

       44.     Unfortunately, and unknown to Zaabri, the Defendants were not running a

legitimate and honest business and eventually refused to pay Zaabri and others for their work.

       45.     The Defendants also never disclosed to Zaabri that they intended to place false

charges upon his wages and earnings that violate Minnesota Employment laws including but not

limited to financial penalties for not attending mandatory meetings, refusing to take drug tests,

not traveling to certain markets within the United States of America, for not working on



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weekends, deducting paychecks amounts for customer damage or complaints, fining Zaabri

$800.00 for customer’s not signing a contract with the company within 24 hours, and taking half

of the commissions from sales if a customer does not sign with a particular law firm, or go to an

adjuster’s meeting, or entice the customer to sue the insurance company for payment of jobs. 41.

       The Defendants also never disclosed to Zaabri that they intended to place false charges

upon his wages and earnings that violate Minnesota Employment laws including but not limited

to financial penalties for not attending mandatory meetings, refusing to take drug tests, not

traveling to certain markets within the United States of America, for not working on weekends,

deducting paychecks amounts for customer damage or complaints, fining Zaabri $100, $400,

$800.00 whenever the company felt like it and taking away 50% of commissions for customer’s

not signing a contract with the company within 24 hours, and taking all of the commissions from

sales if a customer does not sign with a particular law firm, or go to an adjuster’s meeting, or

entice the customer to sue the insurance company for payment of jobs.

       46.     Defendants were experienced litigants with prior allegations of failing to pay

employees for their work, taking aggressive positions against their employees if they refused to

work 7 days a week, pay their “draws” to the company, and created a scheme to cheat hard-

working individuals with excessive fines, false reimbursements for housing and other

undocumented expenses, and then suing employees for not paying the company.

       47.     Many times, employees were left working many hours only to learn that they are

thousands of dollars in debt with the Defendants.

       48.     After Hurricane Irma, Defendants through Haqq publicly stated that he wanted to

get rid of certain “low performing sale persons”.




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       49.     After Hurricane Irma, Defendants through Haqq publicly stated that he wanted to

get rid of certain “low performing sale persons” and rebuild. Haqq stated he wants to only keep a

lean team and get rid of disengaged reps and only keep and pay the reps that are fully engaged

with the Defendants.

       50.     To do this, Defendants concocted a plan to force sales persons to leave by not

paying their wages.

                         Defendants Admit that They Owe Zaabri Money

       51.     After working Defendants for some time, Zaabri realized that Defendants were

not paying jobs that had been capped out or was due to him through their employment

agreement.

       52.     Zaabri upon numerous occasions requested an accounting of past jobs and

revenue accounts receivables.

       53.     However, Defendants did not provide information or provided incorrect or false

information to Zaabri.

       54.     Eventually, Zaabri was informed that he entitled to more than $750,000.00 on

projects where down payments have been received from the customers, more than $1,500,000.00

million for commissions and fees on other projects in the pipeline and approximately $700,000

in percent of revenue overrides based on projections that Zaabri was able to obtain in late 2021.

After further review, Zaabri has now calculated that more than $4M is owed to him not included

penalties and interest payments.

       55.     While there are several moving pieces to do a final accounting, the plethora of

project information is in Defendants’ possession that they refuse to provide to Zaabri.




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         56.       The accounting information for Zaabri’s wages is found on the HubSpot customer

relationship management software that was manipulated after Defendants’ receipt of Zaabri’s

litigation hold. The manager of the HubSport, J.P. Wartman, controlled and has information to

the accuracy of Zaabri’s past wages.

         57.       The Chief Financial Officer Luke Januszewski previously provided project

updates to Zaabri, which included the name of each project, projected revenues, and projected

commissions, as well as the “splits” on each project.

         58.       These projections have been used by Defendants for purposes of draws, payroll

and to calculate buyouts. It is our understanding that this information is also maintained in the

CRM program3, HubSpot4, which provides Defendants with easy, searchable access to specific

project details.

         59.       Despite having this information, Defendants collectively failed to provide any

accounting or information.

         60.       Most telling, Defendants also failed to pay accurate wages to Zaabri knowingly

withholding payments to him from jobs that were capped out and due to be paid to him and his

sales team.

                           Defendants Illegally Fine Zaabri and Deduct Pay

         61.       According to Minnesota Law Minn. Stat. 181.79, an employer is not able to deduct

from wages broken equipment, lost money, or other employer losses unless after the loss occurs,

the employee gives voluntary written authorizations to deduct from his wages or has been found

liable for the loss by a court.




3
    CRM means client management software.
4
    Hubspot is a particular software.
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       62.     According to Minnesota Law Minn. Stat. 177.24, an employer is not able to deduct

consumable supplies used to do the employees job and travel expenses incurred for work.

Additionally, the deductions cannot bring the employees wages below the state minimum wage

and must be paid back to the employee upon leaving the employment.

       63.     Zaabri was fined $800.00 multiple times for “waiting on” a customer for choosing

shingles or other items for the homeowner.

       64.     Zaabri was fined $100, $400 and $800.00 multiple times for “waiting on” fees and

fines and had overrides, wages and commissions striped away from him as penalty.

       65.     For example, Magis HR personal Kelly Sacchetti informed Zaabri that his pay was

being reduced for a “Matthew Sheldon Job”. The email dated December 2, 2020 stated:

                              “Hi Jay,
                              I just wanted to give you the head’s up that I have
                              Been instructed to withhold $1000 from your pay this week,
                              regarding the Matthew Sheldon job.”
                              Kelly Sacchetti
                              HR Manager, Magis, LLC
                              (219)310-7538”

       66.     Zaabri also received wage deductions if a homeowner fails to pay their deductible.

       67.     Zaabri also received wage deductions for cancellations out of his control or if a

homeowner fails to pay their deductible

       68.     Also, Zaabri’s pay was deducted for customer’s not signing a contract with the

company within 24 hours and taking half of the commissions from sales if a customer does not

sign with a particular law firm, or go to an adjuster’s meeting, or entice the customer to sue the

insurance company for payment of jobs.




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       69.     Zaabri and other employees were told to encourage homeowners to seek the

assistance of law firms chosen by Defendant Corporations to sue insurance companies to obtain

payment for their revenues.

       70.     Zaabri never agreed to these deductions in writing.

       71.     Also, Minnesota State law requires employers to provide employees with

restroom time and sufficient time to eat a meal. If the break is less than 20 minutes in duration, it

must be counted as hours worked.

       72.     Time to use the nearest restroom must be provided within each four consecutive

hours of work. Mealtime must be provided to employees who work eight or more consecutive

hours according to Minnesota Statutes 177.253 and 177.254, and Minnesota Rules 5200.0120 for

more information.

        Defendants Trail of Debts and Employee Allegations and Defendants’ Coverup

       73.     The Defendants’ penchant for defrauding and not paying employees left behind a

trail of victims beyond the victims named in this complaint.

       74.     At this time, there are unpaid employees, with many of them pursuing actions in

court for unpaid wages and other illegal actions by the Defendants.

       75.     Next, the Defendants’ also lied to others about monies they collected from

customers avoiding paying employees for commissions.

       76.     When Defendants, especially Haqq learned of the potential lawsuits, he attempted

to pay potential claimants’ money not to speak to Zaabri and attempted to withhold wages until

they executed a “non-disclosure agreement”. Magis also threatened Mino Habib, Justin

Killatrick, Edgar Harutunyan, Liam Hawkins, Zach Favalaro, Khalil Zaabri, William Meyer,




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Richard Dombroff to execute NDA’s or they will withhold payments, wages and information to

avoid evidence from appearing in various lawsuits.

                                     CAUSES OF ACTION

                                           COUNT I
                     (Civil RICO, 18 U.S.C. Section 1964 – All Defendants)

         77.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraphs 1 to 77

above.

         78.   An ongoing and continuing enterprise of actual and/or fraudulent inducement to

fine, avoid paying wages, and creating a scheme to steal money from employees.

         79.   Defendant Haqq was associated with the enterprise by virtue of his controlling

positions.

         80.   Defendant Antonello was associated with the enterprise by virtue of his

controlling positions.

         81.   Haqq and Antonello directly participated in the conduct of the affairs of the

enterprise, including, but not limited to, by unlawfully misleading, lying and fraudulently levying

fines, false draws, withholding money owed to employees when work was completed and money

received from customers and other financial improprieties to their unwitting employees.

         82.   Haqq and Antonello participated in the enterprise through a pattern of

racketeering activity, which consisted of the knowing and willful commission of more than two

racketeering acts.

         83.   This racketeering activity included multiple instances of wire and mail fraud

victimizing Zaabri who is only one of the employees that fell victim to these activities.

         84.   On or about the dates set forth below, in and/or purposely directed at the State and

District of Minnesota, and for the purpose of executing a scheme or artifice to defraud,

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manipulate, falsely charge draws, fail to pay commissions owed, and levy false fines, Haqq and

Antonello did knowingly cause to be transmitted in interstate commerce numerous writings,

signals, and sounds with receiving money under deceit through the corporate enterprise. Many

times, employees would make hundred of thousands for the company only to find they are in

debt due to high draws and false fines.

         85.   Haqq uses company’s black American express credit card to splurge at events

such as Art Basel in Miami meanwhile sales reps owed wages are not being paid and can’t pay

rent.

         86.   Haqq and Antonello accordingly violated 18 U.S.C. Section 1962.

         87.   A threat of repetition of Haqq and Antonello’s unlawful behavior exists given the

years-long pattern of racketeering activity in which Haqq and Antonello has engaged, which as

affected multiple victims in various but related matters.

         88.   As a direct and proximate result of Haqq and Antonello’s violation of 18 U.S.C.

Section 1962, Zaabri has suffered damages in an amount to be determined at trial.

                                         COUNT II
                        (Breach of Contract – Against All Defendants)

         89.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraphs 1 to 89

above.


         90.   Zaabri and Defendants formed multiple contracts that required Defendants to pay

Zaabri commissions or compensation when payments were made by the insurance company

and/or customer.

         91.   Zaabri performed his end of the contract by raising more than 50M in revenue

         92.   Defendants have materially breached the contracts.



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         93.    As a direct and proximate result of Defendant’s breaches, Zaabri has suffered

damages in an amount above $75,000 and to be determined at trial.

                                         COUNT III
                        (Promissory Estoppel – Against All Defendants)

         94.    Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 94

above.

         95.    Alternatively, and/or in addition to the breaches of contract, Defendants made

multiple clear and definite promises to Zaabri that they would pay him outstanding commissions

timely and that Zaabri efforts to bring in more sales staff would be lucrative to him, that the sales

staff would be paid, and that they would eventually pay back all past debts to employees and

him.

         96.    It was foreseeable to Defendants that Zaabri would rely upon their promises and

Zaabri did rely on their promises to his detriment.

         97.    Defendants’ promise must be enforced to prevent injustice.

         98.    As a direct and proximate result of Defendants’ wrongful conduct,

                                         COUNT IV
                           (Account Stated – Against All Defendants)

         99.    Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 99
above.

         100.   Zaabri worked for over 2 years for the Defendants bringing in money to the

company in which he was to make a percentage of commission.

         101.   Zaabri was never paid for money by way of wages and commissions for made for

Defendants after numerous requests.

         102.   While there are several moving pieces to do a final accounting, the information is

in Defendants’ possession.

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         103.   Zaabri has made numerous requests for accounting information but has not

received information.

         104.   Defendants made repeated promises, both orally and in writing, that he would be

paid for his work.

         105.   Until Zaabri threatened litigation to recover the outstanding commissions, at no

time did Defendant’s object in writing that no commissions were owed to Zaabri.

         106.   As such, Zaabri had to file this lawsuit in order to account for commissions, back

wages, and other expenses that have been kept from him.

         107.   Zaabri believes that the Defendants personal accountant and financial department

is in control of this information.

         108.   Based on the above, Defendants are liable to Zaabri for the account stated in an

amount in excess of $75,000, the exact amount to be proven at trial.

                                          COUNT V
                     (Negligent Misrepresentation – Against All Defendants)

         109.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 109
above.

         110.   Zaabri worked for approximately 2 years for the Defendants bringing in money to

the company in which he was to make a percentage of commission.

         111.   In the course of Defendants’ business, profession or employment where they had

a pecuniary interest in Zaabri’s sales acumen in getting clients, Defendants’ supplied false

information to Zaabri enticing him to continue to work without pay by telling him that payments

on jobs have not been completed or were reduced by construction defects or client complaints.

This was not true.




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         112.   Defendants are subject to liability for the pecuniary loss, expected or future

pecuniary loss of Zaabri, caused to him by the justifiable reliance upon the multiple

misrepresentation by Defendants.

         113.   Defendants failed and refused to exercise reasonable care or competence in

obtaining or communicating the misrepresentations.

         114.   Zaabri is entitled to but not limited to recovery of damages equivalent to his “out

of pocket” losses, along with any special damages naturally and proximately caused by the fraud

prior to their discovery, including expense incurred in mitigating the damages.

         115.   Based on the above, Defendants are liable to Zaabri for the account stated in an

amount in excess of $75,000, the exact amount to be proven at trial.


                                        COUNT VI
                   (Fraudulent Misrepresentation – Against All Defendants)

         116.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 116

above.

         117.   Zaabri has alleged sufficient facts and evidence and plan on introducing added

evidence, in further proving intent of Defendants collectively.

         118.   Defendants continually manipulated documents, failed to tell Zaabri when jobs

were completed and paid in full, provide accurate accounting to Zaabri, and made false

representations to Minnesota Agencies about Zaabri’s employment.

         119.   Defendants’ misrepresentations of paid jobs and other expenses that they sought

reimbursement from Zaabri were knowingly inaccurate and failed to disclose information

pertaining to certain jobs.




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         120.   Defendants’ representations were false, and yet Zaabri believed them and relied

upon them to his detriment for many months.

         121.   Defendants’ conduct were done intentionally and knowingly thereby damaging

Zaabri by their conduct and actions.

         122.   Defendants harbored an intent to blackmail and then defraud Zaabri from the day

Zaabri initiated his employment with Defendants.

         123.   Defendants acted in bad faith and malice after learning of Zaabri’s employment

claim and lawsuit by calling other employees enticing them with money to refrain from working

with Zaabri or suing the Defendants.

         124.   Zaabri has been damaged in excess of $75,000.00 to be proven at trial.


                                COUNT VII
         (FAILURE TO PAY WAGES PURSUANT TO MINN. STAT. 181.13 - ALL
                              DEFENDANTS)

         125.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 125

above.

         126.   Employers must pay employees their wages in a timely manner and the

Defendants in this case failed to do so with Plaintiff.

         127.   “Wages” may include accrued vacation, unused vacation, or paid time off, as well

as non-discretionary bonus payments, and commissions based on an employer’s particular

policies or practices. To date, Plaintiff is owed a significant amount of money from commissions

not paid.

         128.   If the employer does not pay wages within 24 hours of demand, the employer may

be liable for a penalty of up to 15 days of additional wages plus costs and attorney’s fees.

Plaintiff has requested wages multiple times without success.

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        129.     The employer must make the wages available at the usual place of payment unless

the employee requests payment through the mail. To date, Defendants have denied Plaintiff’s

multiple requests for money.

        130.     If the employee requests payment by mail, the wages are considered paid as of the

date of the postmark.

        131.     Employees who resign are entitled to be paid their wages or commissions earned

by the employer’s next regular payday.

        132.     If resignation occurs less than five days before the next regular payday, however,

then the employee must be paid by the second regular payday after resignation. In any event, the

employee must be paid within 20 days.

        133.     The penalty to an employer for failing to provide payment within this time period

is payment of up to 15 days of additional wages.

        134.     Employers must also pay earned commissions to salespersons who are paid on a

commission basis and who are independent contractors and not employees.

        135.     If the employer fails to pay an employee the wages, salary, gratuities, earnings, or

commissions at the employee’s rate of pay, or at the rates required by law (including time and

one-half for overtime) they have violated the law and Defendants have failed to pay wages to

Plaintiff.

        136.     Defendants engaged in wage theft by directly or indirectly causing Plaintiff and

employee to give a representation that they were paid greater wages than they were actually paid.

        137.     Defendant further engaged directly or indirectly demanding or receiving rebates

or refunds from the wages owed the employee under contract of employment.




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        138.    Defendant also attempted to make, or attempt to make appearances that wages

paid to Plaintiff were greater than the amount actually paid.

        139.    The new Minnesota wage law provides criminal penalties for employers who

commit wage theft. The penalties range up to 20 years imprisonment, a fine of up to $100,000, or

both, if the wage theft exceeds $35,000.

        140.    Zaabri has been damaged in excess of $75,000.00 to be proven at trial.


                                     COUNT VIII
                     (FAILURE TO PAY WAGES UPON TERMINATION)

        141.    Employers must pay discharged employees within 24 hours of their demand for wages.

Defendants have failed to by Zaabri wages after demand and termination.

        142.    “Wages” may include accrued vacation, unused vacation, or paid time off, as well as non-

discretionary bonus payments, based on an employer’s particular policies or practices.

        143.    If the employer does not pay wages within 24 hours of demand, the employer may be

liable for a penalty of up to 15 days of additional wages plus costs and attorney’s fees.

        144.    The employer must make the wages available at the usual place of payment unless the

employee requests payment through the mail.

        145.    If the employee requests payment by mail, the wages are considered paid as of the date of

the postmark.

        146.    Employees who resign are entitled to be paid their wages or commissions earned by the

employer’s next regular payday.

        147.    If resignation occurs less than five days before the next regular payday, however, then the

employee must be paid by the second regular payday after resignation. In any event, the employee must

be paid within 20 days.

        148.    The penalty to an employer for failing to provide payment within this time period is

payment of up to 15 days of additional wages.

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        149.    Employers must also pay earned commissions to salespersons who are paid on a

commission basis and who are independent contractors and not employees, when either the salesperson or

the employer terminates the relationship.

        150.    If the employer terminates the salesperson or if the salesperson resigns with at least five

days written notice, the employer must pay commissions earned through the last day of employment on

demand no later than three working days after the salesperson’s last day of work.

        151.    If the salesperson resigns without five days’ written notice, the employer must pay earned

commissions earned through the last day of employment on demand no later than six working days after

the salesperson’s last day of work.

        152.    For these purposes, the term “commissions earned through the last day of employment”

means commissions due for services or merchandise that have been delivered to and accepted by the

customer by the final day of the salespersons’ employment.

        153.    If the employer fails to pay the commissions within the times specified, the employer is

liable not only for the unpaid commission, but also for a penalty in an amount equal to 1/15 of the

salesperson’s commissions earned through the last day of employment, for each day up to fifteen days

that the commissions go unpaid, plus attorney’s fees.

        154.    If the discharged or resigning employee or salesperson was entrusted with the handling of

money or property during employment, the employer has ten working days after the termination of

employment to audit or adjust the employee’s accounts before wages or commissions are payable. No

penalties will accrue during this ten-day period.

        155.    The Defendants have failed to provide Zaabri with payment after he was terminated.

Zaabri has been terminated from the Defendants company for many months and has yet to be paid past

wages and commissions. Defendants have admitted that Zaabri is owed money.

        156.    Zaabri has been damaged more than $75,000.00 to be proven at trial.

                                         COUNT IX
                                (FAIR LABOR STANDARDS ACT)

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         157.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 157

above.

         158.   Employers must pay minimum wages and overtime pay to each employee,

including part-time employees, for all hours worked, unless an employee is specifically exempt

from the law.

         159.   The federal Fair Labor Standards Act (“FLSA”) covers employees of enterprises

whose workers are engaged in interstate commerce, or handle, sell, or otherwise work on goods

or materials that have been moved in or produced for interstate commerce.

         160.   Minnesota also has a statute regulating minimum wages and overtime.

         161.   Although most employers and their employees in Minnesota are governed by the

federal FLSA, Minnesota’s provisions apply if they are more favorable to the employee.

         162.   Defendants’ collective action have violated the FLSA. Defendants have and

pursuant to the facts above have sent Plaintiff across state lines to engage in interstate commerce

with sister companies. Defendants caused Plaintiff to work 7 days a week, fined the Plaintiff for

not working overtime, and withheld wages as a punishment.

         163.   Zaabri has been damaged more than $75,000.00 to be proven at trial.

                                        COUNT X
                      (Wage Deduction Violation-Against All Defendants)

         164.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 164

above.

         165.   Only if the employee makes the proper written authorization, may the employer

make the following deductions from an employee’s wages.




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       166.    No deductions may be made for the following items if the deduction would

reduce an employee’s wages below minimum wage, or if the deduction exceeds $50.00.

       167.    Purchased or rented uniforms or specially designed clothing required by the

employer, by the nature of the employment, or by law, which is not generally appropriate for use

except in that employment; • Purchased or rented equipment used in employment, except tools of

a trade, a motor vehicle, or any other equipment that may be used outside the employment;

       168.    Consumable supplies required in the course of that employment; and

       169.    Travel expenses incurred in the course of employment except those incurred in

traveling to and from the employee’s residence and place of employment.

       170.    When the employee’s employment is terminated, the employer must reimburse

the full amount deducted for any of the items listed above, and the employer may require the

employee to return the items for which the employer provided reimbursement.

       171.    The employer may not, however, hold the employee’s final check if the employee

fails to return such items. An employer may not deduct from an employee’s wages any amount

for lost, stolen, or damaged property, or recover any claimed amount owed by the employee to

the employer, unless the employee voluntarily authorizes the employer in writing to make the

deduction after the loss has occurred, or unless the employee is found liable by a court for the

loss or indebtedness.

       172.    Any written authorization must specify the amount to be deducted from the

employee’s wages during each pay period.

       173.    Defendants did deduct from wages illegal fines, equipment losses, damages

occurring at the construction site and other wrongful wage loss deductions without Zaabri’s

approval.



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         174.   As a result, Zaabri has been damaged more than $75,000.00 to be proven at trial.

                                      COUNT XI
                           (UNJUST ENRICHMENT-All Defendants)


         175.   Zaabri realleges, as if fully set forth herein, all allegations in Paragraph 1 to 175

above.

         176.   Defendants are liable of unjust enrichment because they benefited from the work

of Zaabri and windfall of unpaid commissions that were owed to Zaabri.

         177.   Under Minnesota law, Defendants are required to pay restitution to Zaabri for the

benefit received by them in which they unjustly used and unjustly enriched themselves.

         178.   Defendants knowingly received Zaabri’s commission money that they were not

entitled, and the circumstances were such that it was unjust for Defendants to spend that money.

         179.   It would be unjust for Defendants to retain and profit from the unpaid

commissions currently in their possession.

         180.   As a result, Zaabri has been damaged in excess of $75,000.

                                   COUNT XII
                   (CIVIL CONSPIRACY-AGAINST ALL DEFENDANTS)

         181.   Harutyunyan realleges, as if fully set forth herein, all allegations in Paragraph 1 to

174 above.

         182.   “To establish civil conspiracy, a claimant must show that two or more people

worked together to accomplish (1) an unlawful purpose or (2) a lawful act by unlawful means.”

Robert Allen Taylor Co. v. United Credit Recovery, LLC, No. A15-1902, 2016 WL 5640670, at

*11 (Minn. Ct. App. Oct. 3, 2016)(citing Harding v. Ohio Cas. Ins. Co. of Hamilton, Ohio, 230

Minn. 327, 337, 41 N.W.2d 818, 824 (1950)).




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       183.    Here, the Defendants’ are two or more people that worked together to accomplish

the following unlawful purposes, which include but are not limited to:

   •   Wrongfully withholding the commissions owed to Harutyunyan for the work he
       performed in violation of state and federal wage and labor statutes;

   •   Fraudulently or negligently misrepresenting the commissions that Harutyunyan was owed
       for the work he performed during his employment with the Defendants; and,

   •   Furthering an illegal racketeering enterprise.

       184.    As a result of Defendants’ concerted actions in furtherance of the above stated

unlawful purposes, Harutyunyan suffered damages in an amount exceeding $75,000.


                                   JURY TRIAL DEMANDED

       Zaabri demands a jury trial as to all issues so triable.

                                     PRAYER FOR RELIEF

WHEREFORE, Zaabri demands judgment as follows:

       1. Finding in Zaabri’s favor, and against Defendant, on all claims.

       2. Awarding Zaabri’s the full measure of damages permitted by law, including treble

           damages for Count I.

       3. Ordering Haqq, Antonello, Grosso, and Palmiere to divest themselves of any interest,

           direct or indirect, in the enterprise.

       4. Imposing reasonable restrictions on the future activities of Defendants, including, but

           not limited to, prohibiting Defendants from engaging in the same type of endeavor as

           the enterprise engaged in.

       5. Ordering dissolution of the enterprise, making do provision for the rights of innocent

           persons.

       6. Awarding Zaabri his attorneys’ fees associated with this matter.

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       7. Awarding Employment

       8. Awarding Zaabri such other and further legal and equitable relief as the Court may

           deem appropriate.


                                                     THE HUTTON FIRM, PLLC


July 5, 2022                                         /s/ Lee A. Hutton, III
                                                     Lee A. Hutton, III (Atty No. 0327992)
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                                                     333 South Seventh Street
                                                     Minneapolis, Minnesota 55402
                                                     E: lhutton@thehuttonfirm.com

                                                     ATTORNEYS FOR PLAINTIFF

                                VERIFICATION STATEMENT

       I have read the foregoing VERIFIED COMPLAINT and know its contents. That I am

informed and believe and, on that ground, allege that the matters stated in the foregoing

document are true. The matters stated in the foregoing document are true of my own knowledge

except as to those matters which are stated on information and belief, and as to those matters, I

believe them to be true. I declare under penalty of perjury under the laws of the State of

Minnesota that the foregoing is true and correct.

                                              /s/ Jasser Zaabri




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